                          Case 4:21-cr-00572 Document 1 Filed on 10/29/21 in TXSD Page 1 of 7
    AO 91 (Rev. 11/11) Criminal Complaint



            Sealed                            UNITED STATES DISTRICT COURT                                            United States Courts
Public and unofficial staff access
     to this instrument are
                                                                           for the                                  Southern District of Texas
   prohibited by court order                                                                                                 FILED
                                                              Southern District
                                                           __________  District of
                                                                                of Texas
                                                                                   ________
                                                                                                                         October 29, 2021
                          United States of America                            )                                  Nathan Ochsner, Clerk of Court
                                     v.                                       )
                            MARK WILLIAMS JR
                                                                              )      Case No.
                                                                              )
                                                                              )
                                                                                                    4:21-mj-2309
                                                                              )
                                                                              )
                                     Defendant(s)


                                                           CRIMINAL COMPLAINT
                I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
    On or about the date(s) of                         October 25, 2021              in the county of            FORT BEND              in the
          Southern              District of              Texas            , the defendant(s) violated:

                    Code Section                                                        Offense Description
    18 U.S.C. § 875                                       Interstate Communication with Threat to Injure




                This criminal complaint is based on these facts:
    See Attached




                ✔ Continued on the attached sheet.
                ’

                                                                                                /s/ Daniel Taylor

                                                                                                         Complainant’s signature

                                                                                                DANIEL TAYLOR, SPECIAL AGENT
                                                                                                          Printed name and title

    Sworn to before me and signed in my presence.


    Date:        October 29, 2021


    City and state:                                 HOUSTON, TX
   Case 4:21-cr-00572 Document 1 Filed on 10/29/21 in TXSD Page 2 of 7
                                          AFFIDAVIT




   I, Daniel Taylor, your affiant, being duly sworn, do depose and state as follows:

A. Identity and Experience of Affiant

   1) Affiant is a Special Agent with the United States Department of Veterans Affairs, Office of

       Inspector General, Criminal Investigations Division (VA-OIG), assigned to the Houston

       Resident Agency and has been so employed for approximately 2 years. Prior to joining VA-

       OIG, I was a Special Agent for the United States Office of Personnel Management, Office of

       Inspector General, (OPM-OIG) for approximately 8 years. I have a total of approximately 16

       years of state and federal law enforcement experience conducting interviews, issuing

       subpoenas, collecting evidence, and executing search and arrest warrants. I have maintained

       my education and training founded on the Louisiana State Police Academy and Federal Law

       Enforcement Training Center.

B. Purpose of the Affidavit

   2) This affidavit is made in support of a complaint and arrest warrant for Mark Williams, Jr.,

       DOB 07/21/1988, a resident of the Southern District of Texas

   3) This affidavit does not contain all information gathered during this investigation but is being

       submitted for the limited purpose to establish probable cause to believe that the individual

       below has engaged in and continues to engage in criminal activity.

   4) Based on the investigation and the information contained in this affidavit, there is probable

       cause to believe that Williams violated federal law, including making a threat using interstate

       communications, 18 U.S.C. § 875(c). This section makes it illegal to, among other things,

       transmit in interstate commerce any communication containing any threat to injure the person

       of another.

   5) When a veteran calls the White House VA Hotline, their call is routed to the Martinsburg,

       WV VA Medical Center. Occasionally, overflow calls go to contractors such as the Bowen



                                                                                                        1
   Case 4:21-cr-00572 Document 1 Filed on 10/29/21 in TXSD Page 3 of 7
                                          AFFIDAVIT


       Group located primarily in Shepherdstown, WV or a handful of representatives in Utah. Calls

       originating in Texas to the White House VA Hotline are clearly interstate communications.

C. Basis for Facts Contained in This Affidavit

   6) The statements in this affidavit are based upon my investigation, information provided to me

       by other VA-OIG Agents, VA Police Service (VAPS), public source and business records,

       and my experience and background as a Special Agent.

D. Probable Cause of Violation of Interstate Communications

   7) Beginning on or about July 21, 2021 VA-OIG received the first of multiple reports that

       Williams made threatening statements towards US Department of Veterans Affairs medical

       facilities and its staff. On July 21, 2021, Williams called the Lake Jackson VA Outpatient

       Clinic (LJOPC) from phone number (979)529-8615. LJOPC is located in the Southern

       District of Texas. Williams told an employee: “Since y’all want to fuck up my life, I’m going

       to come up there and fuck up your life.” VAPS Officer Merlin Henry made contact with

       Williams at (979) 529-8615, who admitted to calling the LJOPC and claimed he was “having

       a bad morning.”

   8) Five days later on July 26, 2021 at 8:23pm, Williams called the White House VA Hotline, a

       recorded hotline managed by the Veterans Experience Office (VEO) using the same phone

       number. The VEO contracts call centers such as the Bowen Group in West Virginia, who

       received this call, to staff the hotline. During the call Williams, who is a US Army veteran,

       said, “I'm gonna make sure that these people think twice before they fuck with a veteran

       again...I'm willing to throw my life away... I will take my fucking belt off in the VA, and I

       will start hitting motherfuckers…” He continued: “I swear to God, I will fuck them all up...

       Are they gonna enjoy it when their buddies' blood is splattered on the fucking ground, 'cause

       that's where its coming to... I have the power... I will throw my own life away to bring

       justice... This isn't a fucking game, man...” On July 27, 2021 VAPS Det. Timothy Conger



                                                                                                       2
Case 4:21-cr-00572 Document 1 Filed on 10/29/21 in TXSD Page 4 of 7
                                        AFFIDAVIT


    interviewed Williams at telephone number (979)529-8615. Williams claimed the VA was

    driving him insane but that he did not have any real intentions of harming anyone at the VA.

9) On August 11, 2021, Williams called the White House VA Hotline again. During the

    conversation, which took place on a recorded line, Williams made the following comments

    about staff members at the LJOPC and Houston VA Medical Center (VAMC), which is also

    located in the Southern District of Texas:

        a) “The more they abuse me, the closer I get. The more they hurt me, the closer I get.

            Somebody needs to be an adult and talk to me before somebody gets hurt...I’m a

            man. I’m not gonna take this shit. I don’t give a shit how many guns show up.”

        b) “They put me literally in a position to just start killing people. And they wonder why

            people do that.”

        c) “I’m not gonna snap and then just like get shot. I’m gonna make sure that somebody

            goes with me.”

        d) “They are trying to provoke me, and they think that I’m gonna do something stupid

            to where I get shot or they throw me in jail. And no, I’m not. I’m gonna kill them

            first. Like, that's what it's come to...I can't stop it anymore.”

        e) ”I am a threat to the people there now and to myself...All I know is, I've lost the

            ability to control myself, and I'm snapping.”

        f) ”Somebody's about to get fucking killed. You know what I'm saying? Like, this is not

            a game.”

10) Williams was interviewed by VAPS Officer Joseph White. Williams denied threatening the

    VA and said he wished to start “with a clean slate” at the VA.

11) The Veterans Crisis Line (VCL) is a free, confidential resource that’s available to all

    veterans, even if not registered with VA or enrolled in VA health care. Qualified responders

    at the VCL are specially trained and experienced in helping veterans of all ages and

    circumstances. The VCL is not a recorded line.

                                                                                                   3
Case 4:21-cr-00572 Document 1 Filed on 10/29/21 in TXSD Page 5 of 7
                                       AFFIDAVIT


12) On August 31, 2021, Williams called the VCL and expressed the desire to harm VAPS

   officers. Williams was angry that a behavioral flag had been placed on his profile at the

   VAMC due to his previous behavior and pattern of threats. The flag requires Williams to

   have a police escort while on VA property.

13) On September 3, 2021, Affiant attempted to locate and interview Williams, but was

   unsuccessful as Williams had recently moved out of his apartment. Later that evening,

   Williams texted the property manager of the RV Park where he was staying that he knew the

   VA was looking for him and he was going to kill himself. The property manager called the

   Brazoria County Sheriff’s Office. A Brazoria County Sheriff’s Deputy contacted and held

   Williams on the phone until the Fort Bend County Sheriff’s Office arrived on scene. Fort

   Bend County Sheriff’s Deputies transported Williams to the VAMC and admitted him to the

   mental health ward on a law enforcement emergency detention order. Upon discharge on

   September 8, 2021, Affiant interviewed Williams. Williams’ demeanor was calm yet he

   verbally expressed deep discontent for the VA and its staff as he felt the VA keeps treating

   him like a child. Williams also believed the VA was following him around and ruining his

   life. Williams denied having access to firearms and said his comments on hurting VAPS

   officers was an effort to get attention.

14) On October 6, 2021 at 4:18am, Williams called the White House VA Hotline a third time.

   Williams threatened to kill himself and said that if he was going out, he was going to take

   someone with him. When interviewed by VA-OIG SA Michael Lombard on October 8, 2021,

   Williams said he wasn’t on his medications, but he didn’t have a gun and didn’t intend to

   harm anyone at the VA.

15) On October 25, 2021 at 2:56am, Williams contacted the White House VA Hotline and made

   numerous threats towards the LJOPC in Brazoria County and VA personnel. During the call,

   which was recorded, Williams said, among other things:



                                                                                                  4
Case 4:21-cr-00572 Document 1 Filed on 10/29/21 in TXSD Page 6 of 7
                                       AFFIDAVIT


       a) “I’m probably gonna go back to Brazoria County and I’m probably just gonna start

           killing people at this point.”

       b) “The VA got involved and I guess they thought they were just gonna fuck up my life,

           for the rest of my life, and I was just gonna just take that shit. I think I’m a go down

           there and I’m gonna fucking get me some fucking niggers, you know what I’m sayin?

           I’ma kill those mother fuckers. I’ma kill every last one of them mother fuckers that

           fucked up my life.”

       c) “I guess I’m supposed to just fucking kill myself…. But I’m still alive and I’m still

           very angry.”

       d) “They can throw me in jail or something and as soon as I get out, I’m going to get my

           justice.”

       e) “You tell me what the fuck I’m supposed to do other than drive back down to

           Brazoria county and just start killing mother fuckers.” …. “I just got $1600 from

           selling cars and I’m about to buy a gun, and I’m about to drive down there, and start

           shooting mother fuckers.”

       f) “I gonna come down there, and I’m gonna rape every last one of them niggers. I’m

           gonna kill every fucking nigger in the VA, god dammit.”

       g) “My truck, can ram through those front glass windows, those doors of the Lake

           Jackson VA. If I go full speed, I can ram through the glass and kill somebody at the

           reception desk at least.”

       h) “They know that I’m very suicidal. I don’t have much will to live, but I will make

           sure that, that before I go, I take them out.”

16) Williams consistently used a cell phone with the phone number (979) 529-8615 to contact the

   VA and VA Hotlines. VAPS Officers and VA-OIG Agents have also been able to contact

   Williams at the same number. Affiant and VAPS Det. Conger interviewed Williams in person

   on September 8, 2021 and VA-OIG Agent Lombard interviewed Williams via phone at (979)

                                                                                                      5
       Case 4:21-cr-00572 Document 1 Filed on 10/29/21 in TXSD Page 7 of 7
                                                AFFIDAVIT


            529-8615 on October 8, 2021 and all can confirm Williams as the voice on the recorded call

            to the White House VA Hotline on October 25, 2021.

        17) Williams has no fixed address. He lives in a camper trailer attached to his 2020 Chevrolet

            Silverado truck in the Missouri City, TX area. His last known campsite was at 15545 SH 6 S,

            Rosharon, TX on September 3, 2021. His vehicle with Texas plate NGL 4213 was last

            located near the Hwy 6 Truck 18 Wheeler RV Parking lot at 14701 Westpark Dr, Houston,

            TX, 77082 on September 29, 2021. The call Williams made on October 25, 2021 to the White

            House VA Hotline was answered at a call center located in Shepherdstown, WV by VA

            Contractor Bowen Group.

    E. Conclusion

        18) Based upon the above information, I believe probable cause exists that Williams has

            committed violations of federal law, including Threat by Interstate Communications, in

            violation of 18 U.S.C. § 875(c).



I declare under penalty of perjury that the foregoing is true and correct.




                                                         /s/ Daniel Taylor
                                                   _________________________________
                                                   Daniel Taylor
                                                   Special Agent




Subscribed and telephonically sworn to before me this _29th_ day of _October_, 2021 and I find probable
cause.




                                                                                                         6
